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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                               11/15/2021
---------------------------------------------------------------X
XUM TAMBRIZ, et al.,                                           :
                                                               :   20-CV-5409 (AJN) (RWL)
                                    Plaintiffs,                :
                                                               :
                  - against -                                  :   ORDER
                                                               :
TASTE AND SABOR LLC,                                           :
                                                               :
                                    Defendant.                 :
                                                               :
---------------------------------------------------------------X
ROBERT W. LEHRBURGER, United States Magistrate Judge.

        On July 15, 2021, Plaintiffs filed a motion for default judgment (ECF 39). The

motion includes the Declarations of Octaviano Xum Tambriz (ECF 39 at p. 29) and

Leonardo Xum Tambriz (ECF 39 at p. 34). Both declarations are incomplete. The

Octaviano Declaration is missing the page(s) with paragraphs 6 through 17. The

Leonardo Declaration is missing the page(s) with paragraphs 6 through 16. Accordingly,

no later than November 22, 2021, Plaintiffs shall file complete copies of both

declarations.

                                                     SO ORDERED.



                                                     _________________________________
                                                     ROBERT W. LEHRBURGER
                                                     UNITED STATES MAGISTRATE JUDGE

Dated: November 15, 2021
       New York, New York

Copies transmitted this date to all counsel of record.




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